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                                          U.S. Department of Justice

                                                      United States Attorney
                                                      Southern District of New York
                                                      The Silvio J. Mollo Building
                                                      One Saint Andrew’s Plaza
                                                      New York, New York 10007

                                                      October 6, 2020
                                                                                              11/18/20
BY ECF

The Honorable Alison J. Nathan
United States District Court
Southern District of New York
United States Courthouse
40 Foley Square
New York, New York 10007

       Re:     United States v. Ghislaine Maxwell, 20 Cr. 330 (AJN)

Dear Judge Nathan:

         The Government respectfully submits this letter to request that the Court grant the
Government permission to delay disclosure to the defense of certain photographs of and documents
regarding victims of sexual abuse by Jeffrey Epstein. These materials relate to abuse that post-
dated the time period charged in the Indictment, and the Government does not intend to offer them
at trial. Although the Government intends to produce these materials to the defendant in advance
of trial, premature disclosure of these materials could jeopardize the Government’s ongoing
investigation and would reveal sensitive victim information months in advance of trial. For these
reasons and as set forth below, the Government respectfully submits, pursuant to Federal Rule of
Criminal Procedure 16(d)(1), that good cause exists to delay disclosure of these items to defense
counsel until eight weeks prior to trial. 1 The Government has conferred with defense counsel,
who have indicated that they object to this request and intend to submit a letter in opposition.

        As the Court is aware, the superseding indictment in this case (the “Indictment”) charges
the defendant in six counts. Count One of the Indictment charges Maxwell with conspiring with
Epstein and others to entice minors to travel to engage in illegal sex acts, in violation of 18 U.S.C.
1
 Federal Rule of Criminal Procedure 16 provides for the production of discovery to a defendant,
upon request, of certain materials, such as documents that are material to the preparation of the
defense and documents the Government intends to use in its case-in-chief at trial. However, Rule
16(d)(1) also provides that:

               At any time the court may, for good cause, deny, restrict, or defer
               discovery or inspection, or grant other appropriate relief. The court
               may permit a party to show good cause by a written statement that
               the court will inspect ex parte.

A finding of good cause “‘must be based on a particular factual demonstration of potential harm,
not on conclusory statements.’” United States v. Gangi, No. 97 Cr. 1215 (DC), 1998 WL 226196,
at *2 (S.D.N.Y. May 4, 1998) (quoting Anderson v. Cryovac, Inc., 805 F.2d 1, 8 (1st Cir. 1986)).
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§ 371. Count Two of the Indictment charges Maxwell with enticing a minor to travel to engage in
illegal sex acts, in violation of 18 U.S.C. § 2422 and 2. Count Three of the Indictment charges
Maxwell with conspiring with Epstein and others to transport minors to participate in illegal sex
acts, in violation of 18 U.S.C. § 371. Count Four of the Indictment charges Maxwell with
transporting minors to participate in illegal sex acts, in violation of 18 U.S.C. § 2423 and 2. Counts
Five and Six charge Maxwell with perjury, in violation of 18 U.S.C. § 1623. Counts One through
Four focus on conduct between approximately 1994 and 1997.

        The charges in the Indictment arose out of a broader investigation into Epstein’s sexual
abuse of minors, which covered time periods beyond that included in the Indictment. During the
course of that broader investigation, the Government has interviewed dozens of victims who were
sexually abused by Epstein. As part of that broader investigation, the Government has obtained a
limited number of sensitive documents and photographs regarding certain victims who were
sexually abused by Epstein after 1997 (the “Materials”). These Materials include, for example,
school photographs of certain victims and records, such as bank and travel records, for certain
victims. The Government does not anticipate offering these Materials as evidence at trial in this
case, and the Materials do not relate to individuals whom the Government currently anticipates
calling as witnesses at trial. Moreover, the Materials post-date the time period charged in the
Indictment.

        The Government has reviewed the Materials for any potentially exculpatory material, and
has found none. Nevertheless, because the Government is taking an expansive approach to
disclosures in this case, the Government intends to produce these Materials to the defendant along
with 3500 material for non-testifying witnesses sufficiently in advance of trial in order to enable
the defendant to review and, if appropriate, make use of the Materials in her defense. In particular,
the Government intends to produce to the defendant, pursuant to a protective order, statements of
all witnesses the Government has interviewed during its broader investigation, even if the
Government does not intend to call those witnesses at trial. Should the Court grant the instant
application, the Government would produce the Materials, along with any witness statements
pertaining to the victims identified in the Materials, at the same time as all other statements by
non-testifying witnesses. The Government is prepared to make that production as early as eight
weeks in advance of trial. Because the volume of the Materials is limited to approximately 40
photographs and approximately 40 pages of documents, defense counsel’s review of the Materials
is unlikely to be unduly time consuming, thus minimizing any potential prejudice to the defendant
from the delayed production.

        Delayed disclosure of the Materials is warranted because they include identifying
information for victims who are not expected to testify in this case and who have provided
information as part of the Government’s ongoing investigation, the immediate disclosure of which
would risk interfering with the Government’s ongoing investigation. See United States v.
Mannino, 480 F. Supp. 1182, 1188 (S.D.N.Y. 1979) (permitting delayed production of documents
whose immediate disclosure to the defense would interfere with ongoing investigation); cf. United
States v. Smith, 985 F. Supp. 506, 531-32 (2d Cir. 2013) (risk of interference with ongoing
investigation sufficient good cause for entry of Rule 16 protective order). Immediate disclosure
of these materials would have the effect of prematurely revealing to the defendant the identities of
certain Epstein victims who are not referenced in the Indictment but who have spoken with the
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Government as part of its ongoing investigation, well in advance of any trial in this matter.
Premature disclosure of these witnesses’ identities and sensitive information about those witnesses
risks jeopardizing the Government’s ongoing investigation in at least two respects. First,
disclosure would tend to reveal to the defendant the scope of and evidence gathered during the
Government’s ongoing investigation, the details of which are not currently public or known to the
defendant. Second, an order requiring the immediate production of these Materials would risk
deterring other victims from coming forward to be interviewed and from providing evidence to the
Government. Victims who may be considering cooperating with the Government’s investigation
may decline to do so if they believe that the information they provide—even information outside
the period charged in the Indictment—must be immediately disclosed to the defense in this case.
Given the sensitivity of the Materials, the need to protect the Government’s ongoing investigation,
and the minimal (if any) relevance of the Materials to the offenses charged in the Indictment, the
Government respectfully submits that good cause exists pursuant to Rule 16(d) to delay their
disclosure.

      Accordingly, the Government respectfully requests that the Court approve the
Government’s request to delay disclosure of these Materials.

                                                   Respectfully submitted,

                                                   AUDREY STRAUSS
                                                   Acting United States Attorney


                                             By:
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Cc: All Counsel of Record (By ECF)



                                     There is no dispute that the materials referenced in the Government’s
                                     letter will be turned over to the defense. The Government has
                                     indicated that it will do so. The only dispute, then, relates to the
                                     timing of such disclosure. See Dkt. Nos. 64, 65. Because the
     SO ORDERED. 11/18/20            Government has articulated plausible reasons for some delay of
                                     disclosure, see Dkt. No. 65 at 4, the Court grants the Government’s
                                     request to delay disclosure. However, the Government’s proposal to
                                     delay disclosure until 8 weeks in advance of trial is insufficient. In
     Alison J. Nathan, U.S.D.J.      order to ensure that the defense can adequately prepare for trial, the
                                     Government shall produce the referenced materials, which are not
                                     voluminous, to the defense by March 12, 2021. Disclosure of the
                                     materials will of course be subject to the protective order entered by
                                     the Court, see Dkt. No. 36.

                                     SO ORDERED.
